              Case 2:20-cv-00188-RSL Document 11 Filed 10/16/20 Page 1 of 2




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 5
                                 UNITED STATES DISTRICT COURT
 6
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE
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 9     BOARD OF TRUSTEES OF THE SOUND                            Case No. C20-188RSL
       RETIREMENT TRUST,
10                                                               ORDER GRANTING
                             Plaintiff,                          MOTION FOR DEFAULT
11
                        v.                                       JUDGMENT
12
       K-C FOOD CORPORATION, UBI No.
13     600147524,
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                             Defendant.
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            This matter comes before the Court on plaintiff’s “Motion for Default Judgment.” Dkt.
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     #8. On June 24, 2020, the Clerk of Court entered an order finding K-C Food Corporation, UBI
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     No. 600147524 in default for its failure to appear or file a responsive pleading to plaintiff’s
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     complaint. Dkt. #7. Having reviewed the motion, declarations, and the remainder of the record,
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     the Court finds as follows:
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            The default entered in the above-captioned matter has established the well-pleaded
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     allegations of the complaint pertaining to liability. Judgment in favor of plaintiff and against
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     defendant is therefore appropriate. Plaintiff has requested – and provided evidence to support –
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     an award in the following amounts:
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                   Withdrawal liability                $1,731,183.00
26                 Liquidated damages                  $346,236.60
                   Pre-judgment interest               $100,740.62
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                   Costs                               $479.00
28                 Reasonable attorney’s fees          $377.00

     ORDER GRANTING MOTION FOR DEFAULT JUDGMENT - 1
             Case 2:20-cv-00188-RSL Document 11 Filed 10/16/20 Page 2 of 2




 1 Accordingly, the Clerk of Court shall enter judgment in favor of plaintiff and against defendant
 2 for withdrawal liability of $1,731,183.00, liquidated damages of $346,236.60, interest of
 3 $100,740.62, costs of $479.00, and attorney’s fees of $377.00, for a total of $2,179,016.22,
 4 together with interest accruing thereupon at the rate of twelve percent (12%) per annum from the
 5 date of entry hereof until fully paid.
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           DATED this 16th day of October, 2020.
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 9
                                                    A
                                                    Robert S. Lasnik
                                                    United States District Judge
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     ORDER GRANTING MOTION FOR DEFAULT JUDGMENT - 2
